Case 6:22-cv-00860-RBD-DCI Document 23 Filed 06/02/22 Page 1 of 2 PageID 282




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


IN RE: PROCEDURES FOR                                         Case No. 6:21-mc-29-Orl-DCI
DISCOVERY MOTIONS


                             ORDER ON DISCOVERY MOTIONS

       In an effort “to secure the just, speedy, and inexpensive determination” of this action, Fed.

R. Civ. P. 1, it is ORDERED as follows:

       (1)     If a discovery dispute arises, the litigants must confer in person or via telephone
in a good faith effort to resolve the dispute before seeking court intervention. See Local Rule
3.01(g).

        (2)     If the good-faith conferral does not resolve the discovery dispute, a litigant may
seek court intervention, but must do so by filing a Short-Form Discovery Motion in compliance
with this Order. Neither the Motion nor any response thereto shall exceed 500 words, exclusive
of caption, signature block, and certifications.

       (3)     The Movant must attach any discovery requests and discovery responses.

       (4)     If time-sensitive, the Motion must be filed and captioned as “Time-Sensitive.”

       (5)     Any litigant opposing the Motion shall file a response no later than five days after
the Motion is filed (see Fed. R. Civ. P. 6(a)); a failure to file a timely response will result in the
Motion being deemed unopposed.

       (6)    To resolve the dispute, the Court may: decide the dispute on the basis of the Motion
and any response, set a hearing, or order further briefing.

       (7)     In the Motion or response, a litigant may request additional briefing, but such a
request must accompany, and not replace, the substantive argument.

        (8)    The litigants must continue to confer concerning the dispute and must promptly
notify the Court if they resolve the Motion in whole or in part.

      (9)      If a hearing is set, the litigants shall file a joint notice two days before the
hearing certifying ongoing conferral and stating which issues, if any, have been resolved.
Case 6:22-cv-00860-RBD-DCI Document 23 Filed 06/02/22 Page 2 of 2 PageID 283




       The Court expects all parties to act courteously and professionally in the resolution of their

discovery disputes. The Court may impose appropriate sanctions upon a finding of failure to

comply with this Order or upon a finding of other discovery misconduct.

       ORDERED in Orlando, Florida on February 1, 2021.




                                                -2-
